Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 1of/7

Certificate of Service
Under the Foreign Sovereign Immunities Act

People’s Republic of China } ee ee
Beijing Municipality )
MAR 30 2023
ss:
"ARTHUR JOHNSTON
City of Beijing ) BY — DEPUTY

Embassy of the United )

States of America }

|, Briant Platt, Consul of the United States of America in Beijing, China, certify that this is
a true copy of the Embassy of the United States of America, diplomatic note No. 2023-
0096 dated January 18, 2023, and delivered to the Ministry of Foreign Affairs of the
People’s Republic of China on January 18, 2023.

Briant 5. Platt
Consul of the United States of America

United States Embassy Beijing

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No. 2023-0096

The Embassy of the United States of America refers the Ministry of Foreign
Affairs of the People’s Republic of China to the lawsuit State of Mississippi, ex rel.
Lynn Fitch v. The People’s Republic of China, etal., 1:20-cv-00168-TBM-RPM, ve
which is pending in the U.S. District Court for the Southern District of Mississippi
Southern Division. The People’s Republic of China is a defendant in this case.

The Embassy transmits a Summons and Complaint herewith. The U.S. District

Court for the Southern District of Mississippi Southern Division has requested
service of these documents. This note constitutes transmittal of these documents to
the Government of the People’s Republic of China as contemplated in Title 28,
United States Code, Section 1608(a)(4).

Under applicable U.S. law a defendant in a lawsuit must file an answer to
the Complaint or some other responsive pleading within 60 days of the date of
transmittal of the Complaint, in this case the date of this note. Failing to do so, a
defendant risks the possibility of having judgment entered against it without the
opportunity to present arguments or evidence on its behalf. Therefore, the

Embassy requests that the enclosed Summons and Complaint be forwarded to the

DIPLOMATIC NOTE
Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 3 of7

appropriate authority of the People’s Republic of China with a view towards taking
whatever steps are necessary to avoid a default judgment.

In addition to the Summons and Complaint the Embassy is enclosing a
Notice of Suit prepared by the plaintiff, which summarizes the nature of the case
and includes references to US. laws concerning suits against foreign States, and
certain other court documents that the plaintiff has requested be transmitted.

Under U.S. law any jurisdictional or other defense including claims of
sovereign immunity must be addressed to the court before which the matter is
pending, for which reason it is advisable to consult an attorney in the United
States. It is the practice of the U.S. Department of State to be available to discuss
the requirements of U.S. law with counsel. The U.S. Government is not a party to
this case and cannot represent other parties in this matter.

Attachments:
1, Summons, Complaint, Notice of Suit, and Civil Cover Sheet

2. Translations

Embassy of the United States of America

Beijing, January 18, 2023
Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 4of7

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Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 5of7

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Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 6 of 7

IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

THE STATE OFMISSISSIPPI,
ex rel LYNN FITCH
Plaintiff,

Civil Action No. 1:20-cv-168-TBM-RPM
PEOPLE’S REPUBLIC OF CHINA,

et al.

Defendants.

AUPSS) SUMMONS IN A CIVIL ACTION

To: The People’s Republic of China
57 Yunhe East St.
Tongzhou District, Beijing

A lawsuit has been filed against you.

Under 28 USC 1608(d), a foreign state, a political subdivision of a foreign
state, or an agency or instrumentality of a foreign state must serve an answer or
responsive pleading within 60 days after service. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:

Crystal Utley Secoy

P.O. Box 220

Jackson, MS 39205

crystal.utley@ago.ms.gov

You must also file your answer or motion with the court.

BD. CO ARTHUR JOHNSTON
Bag <@\ERK OF COURT

Date:__APR 27 2022

nature of Clerk or Deputy Clerk

Case 1:20-cv-00168-TBM-RPM Document 41 Filed 03/30/23 Page 7 of7

IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

THE STATE OFMISSISSIPPI,
ex rel. LYNN FITCH

Plaintiff,
Civil Action No. 1:20-ev-168-TBM-RPM

PEOPLE’S REPUBLIC OF CHINA,
et al.

Defendants.

ALIAS SUMMONS IN A CIVIL ACTION

To: The People’s Republic of China
The State Council of the People’s Republic of China
2 Fuyou Street, Xicheng District, Beijing, China 100017

A lawsuit has been filed against you.

Under 28 USC 1608(d), a foreign state, a political subdivision of a foreign
state, or an agency or instrumentality of a foreign state must serve an answer or
responsive pleading within 60 days after service. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:

Crystal Utley Secoy

P.O. Box 220

Jackson, MS 39205

crystal.utley@ago.ms.gov

You must also file your answer or motion with the court.

= OUXETHUR JOHNSTON
4 S\RRK OF COURT

Dwrze ld,

APR 27 2022

Date:

ature of Clerk or Deputy Clerk

